        Case 1:24-cv-02199-NGG-JAM Document 13 Filed 03/28/24 Page 1 of 3 PageID #: 65

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

            KAHANA ROSE EVA CHARLES,                                    )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 1:24-cv-02199-NGG-JAM
                                                                        )
CENTERS HEALTH CARE, LLC D/B/A BORO PARK                                )
CENTER FOR REHABILITATION AND NURSING, et                               )
           al, (See attached rider)                                     )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) (See attached rider)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

                                           Phillips & Associates PLLC
                                           45 Broadway Suite 430,
                                           New York, NY 10006


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               BRENNA B. MAHONEY
                                                                               CLERK OF COURT


Date:    03/28/2024                                                            s/Tiffeny Lee-Harris
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:24-cv-02199-NGG-JAM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                                                  Full Caption


 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------X   Docket No.
 KAHANA ROSE EVA CHARLES,

                                             Plaintiff,

                           -against-

 CENTERS HEALTH CARE, LLC D/B/A BORO PARK
 CENTER FOR REHABILITATION AND NURSING,
 CYRINA BENJAMIN, In Her Individual and Official
 Capacities, DAVID GREENBERG, In His Individual
 and Official Capacities, LINDA PONCE, In her
 individual and Official Capacities, and BARBARA
 ELLIS, In Her Individual and Official Capacities,
 ISAAC SABO, In His Individual and Official
 Capacities,

                                               Defendants.
 --------------------------------------------------------------------X


TO: (Defendants name and address):


CENTERS HEALTH CARE, LLC D/B/A BORO PARK CENTER FOR REHABILITATION
AND NURSING
4915 10th Ave, Brooklyn, NY 11219

CYRINA BENJAMIN
4915 10th Ave, Brooklyn, NY 11219

DAVID GREENBERG
4915 10th Ave, Brooklyn, NY 11219

LINDA PONCE
4915 10th Ave, Brooklyn, NY 11219

BARBARA ELLIS
4915 10th Ave, Brooklyn, NY 11219

ISAAC SABO
4915 10th Ave, Brooklyn, NY 11219
